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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 Chung Yim,                                       )
                                                  )
            Plaintiff,                            )     Case No.:
                                                  )
                 v.                               )
                                                  )      COMPLAINT FOR NEGLIGENCE
 United States of America,                        )      (MEDICAL MALPRACTICE)
                                                  )
            Defendants.                           )
                                  JURISDICTION AND VENUE

       1.        This court has jurisdiction under and by virtue of 28 U.S.C. Section 1346 (b) of

the Federal Tort Claims Act, and 38 U.S.C. Section 7316 entitled Veterans’ Benefits in that any

and all occurrences alleged herein were caused by the negligence of health care employees of the

Department of Veteran Affairs Captain James A. Lovell Federal Health Care Center, North

Chicago, Illinois.

       2.        Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district.

                                             PARTIES

       3.        Plaintiff, Chung Yim is a resident of Lake County, Illinois.

       4.        At all times mentioned herein, Defendant, the United States of America, by and

through the Department of Veterans Affairs Captain James A. Lovell Federal Health Care

Center, North Chicago, Illinois employed numerous health care personnel.


                   FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

       5.        On or about July 13, 2018, Chung Yim, age 50, a veteran, had dental implant and

sinus elevation surgery at Captain James A. Lovell Federal Health Care Center (“FHCC”).
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These procedures were performed by Lindsay Powers, D.M.D, a periodontist and employee of

FHCC.

        6.     During the procedure, Dr. Powers perforated Mr. Yim’s sinus membrane and

caused synthetic bone grafting material to be pushed into his sinus cavity.

        7.     Dental imaging done shortly thereafter at FHCC showed that there was no bone

on top of the implant.

        8.     As a result of the implant, perforation of the sinus membrane and synthetic bone

grafting material in his sinus cavity, Mr. Yim suffered immediate, significant and constant pain,

pressure, numbness, headaches and a severe sinus infection among other things.

        9.     After Mr. Yim’s multiple calls and visits to FHCC over the next month and one-

half with the above complaints, he was referred to Oral Maxillofacial Surgeons of Lake County.

        10.    Oral Maxillofacial Surgeons of Lake County determined that Mr. Yim’s implant

had failed and needed to be removed, and on or about September 12, 2018, the implant was

surgically removed by Oral Maxillofacial Surgeons of Lake County.

        11.    On or about October 16, 2018, as a result Mr. Yim’s severe sinus infection caused

by the procedures on July 13, 2018, endoscopic maxillary sinus antrostomy was performed.

        12.    Mr. Yim’s significant and constant pain, pressure, numbness, headaches, severe

sinus infection and loss of taste and smell, among other things, are a direct result of Department

of Veteran Affairs Captain James A. Lovell Federal Health Care Center health care employees’

failure to properly perform surgery, follow up and treat Mr. Yim.

        13.    On or about November 7, 2018, Plaintiff filed a Claim for Damage, Injury, or

Death with the Department of Veterans Affairs.
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                                         COUNT I
                               PLAINTIFF AGAINST DEFENDANT FOR
                                          NEGLIGENCE

        14.     Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirteen

(13) hereat as though fully set forth at this place.

        15.      On or about July 13, 2018, and all times relevant to this action, the Department of

Veterans Affairs Captain James A. Lovell Federal Health Care Center employed health care

personnel who were engaged in the profession of dentists, periodontists and oral surgeons

licensed to practice in the state of Illinois.

        16.     On or about July 13, 2018, and all times relevant to this action, these Department

of Veterans Affairs Captain James A. Lovell Federal Health Care Center health care employees

held themselves out and otherwise informed veterans and their families that they possessed the

requisite skills, competence, facilities and know-how to properly care for their patients.

        17.     On or about July 13, 2018, and thereafter, Plaintiff, Chung Yim entrusted himself

to the care of the Department of Veterans Affairs Captain James A. Lovell Federal Health Care

Center and its health care employees.

        18.     On or about July 13, 2018, and thereafter, the Department of Veterans Affairs

Captain James A. Lovell Federal Health Care Center’s health care employees owed a duty to

render dental, periodontal and oral surgical care in a reasonable manner, so as not to create an

unreasonable risk of injury and harm to their patients, including Plaintiff.

        19.     After assuming the care of the Plaintiff, by and through its health care employees,

were then and there guilty of acting negligently in connection with his care and treatment.

These negligent acts or omissions include, but are not limited to:
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       a. failing to properly perform Plaintiff’s dental implant and sinus tenting

          procedures;

       b. permitting Plaintiff’s sinus membrane to become perforated;

       c. failing to properly diagnose Plaintiff’s perforated sinus membrane;

       d. failing to timely diagnose Plaintiff’s perforated sinus membrane;

       e. failing to abort the implant procedure when it was evident Plaintiff’s sinus

          membrane had been perforated;

       f. failing to treat Plaintiff’s perforated sinus membrane;

       g. failing to treat Plaintiff’s perforated sinus membrane in a timely fashion;

       h. permitting synthetic bone grafting material to be pushed into Plaintiff’s sinus

          cavity;

       i. failing to properly diagnose that synthetic bone grafting material was pushed

          into Plaintiff’s sinus cavity;

       j. failing to timely diagnose that synthetic bone grafting material was pushed

          into Plaintiff’s sinus cavity;

       k. failing to treat the synthetic bone grafting material in Plaintiff’s sinus cavity;

       l. failing to treat the synthetic bone grafting material in Plaintiff’s sinus cavity in

          a timely fashion;

       m. failing to render appropriate dental, periodontal and oral surgical treatment;

       n. failing to timely arrange for other qualified persons to examine and treat

          Plaintiff;

       o. failing to adequately supervise and/or instruct health care personnel;

       p. failing to properly monitor Plaintiff’s condition;
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                q. failing to meet the standard of care for Plaintiff; and

                r. were otherwise careless and negligent.

       20.      That as a direct and proximate result of one or more of the foregoing negligent

acts or omissions of the Defendant, Plaintiff was injured, both internally and externally. He was

caused to and continues to undergo great pain and suffering and physical disfigurement and

impairment, all of which injuries are permanent, and he is unable to attend to his ordinary affairs

and duties. Plaintiff has become and continues to be liable for large sums of money for medical

and other expenses.



       WHEREFORE, the Plaintiff, by and through his attorneys, ED FOX & ASSOCIATES,

LTD., requests judgment against the Defendant as follows:

       1. That the Defendant be required to pay Plaintiff’s general damages, including pain and

             suffering in a sum to be ascertained;

       2. That the Defendant be required to pay Plaintiff’s special damages in a sum to be

             ascertained;

       3. That the Defendant be required to pay Plaintiff’s costs of the suit herein incurred; and

       4. That Plaintiff be awarded such other and further relief as this Court may deem just and

             proper.



                                                                       s/Robin A. Grinnalds__
                                                                       Robin A. Grinnalds
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                       DECLARATION OF ROBIN A. GRINNALDS

     1.      I am the attorney for plaintiff, Chung Yim. I know the facts herein to be true of

my own personal knowledge. I am filing this declaration pursuant to 735 ILCS 5/2-622 and

the laws of the United States of America.

     2.      I have consulted and reviewed the facts of this case with a health professional

who I reasonably believe is knowledgeable in the relevant issues involved in this action, who

has practiced within the last 6 years in the same area of dentistry that is at issue in this action

and who is qualified by experience and demonstrated competence in the subject of this case.

     3.      The reviewing health professional has determined in a written report, after a

review of the dental records and other relevant material that there is a reasonable and

meritorious cause for the fining of this action.

     4.      The written report, attached as Exhibit A to this declaration, is from a qualified

periodontist licensed to dentistry.

     5.      After reviewing the health professional’s report and after consultation with the

health professional, I believe and conclude that there is a reasonable and meritorious cause

for filing this action against Defendant, the United States of America, by and through the

Department of Veterans Affairs Captain James A. Lovell Federal Health Care Center.



     I declare under penalty of perjury and the laws of the United States of America that the

foregoing is true and correct and executed this day, the 28th of October 2019, in Cook

County, Illinois.


                                                            /s/ Robin A. Grinnalds
                                                                Robin A. Grinnalds
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